                   EXHIBIT 12




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Status Herbicide Delivers      ®



the Strongest POST Corn
Burndown on Large Weeds
Benefits of Status Herbicide                                                           Status Herbicide vs. DiFlexx®
■   Superior weed control and corn crop safety compared                                ■ Status herbicide contains TWO active ingredients,
    to other dicamba and mesotrione containing products                                  dicamba + diflufenzopyr (DFFP) plus a safener
    on the market because it has two active ingredients                                ■ DiFlexx herbicide contains one active ingredient,

    plus a safener                                                                       dicamba, plus a safener (no weed efficacy)
                                                                                       ■ Status herbicide is fast acting, highly effective
■   Two sites of action give superior efficacy (Dicamba:
    group 4 and Diflufenzopyr: group 19)                                                 on a wide range of broadleaf weeds, and has
                                                                                         excellent corn safety

2015 Replicated Research Trials: Status Herbicide vs. DiFlexx
40       37                                              % Green Snapped Plants
              33
                        30                               % Corn Yield Reduction
30
                             26
20                                       19
                                              15          15
10                                                                         6
                                                               4
                                                                                0
    0
         DiFlexx        DiFlexx         DiFlexx      Status Herbicide      Check
        16 fl oz/A     12 fl oz/A       8 fl oz/A         5 oz/A
Agricultural Research of Wisconsin LLC, Purdue University, Story City, IA. BASF
Research Farm, Warnke Research, Geneva, MN. The Status herbicide treatment                                               Status Herbicide
included 0.25% v/v NIS + AMS, and DiFlexx treatments included 1% v/v COC + AMS.            DiFlexx (8 fl oz/A)
"Bar Test" was performed two days after application to 14" tall corn to induce green
                                                                                                                             (5 oz/A)
snap. BASF sponsored trials, 2015.




Technical Information Bulletin

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 Product Label Comparison
                                                                                                                                                 Max. Crop
                                      Controls Weeds                             Speed of                Controls HPPD                                                   # Sites of
          Product                                                                                                                                Rotational
                                   Bigger than 6 Inches*                         Control**              Resistant Weeds                                                   Action
                                                                                                                                                  Interval*
   Status® Herbicide                               Yes                                Faster                        Yes                           4 months                      2
          Callisto   ®
                                                     No                             Slower                           No                          18 months***                   1
           Laudis®                                   No                             Slower                           No                          18 months†                     1
*Source: Product labels. **Relative to solo dicamba (e.g., DiFlexx). ***Includes dry beans, sugar beets and other rotational crops. †Includes some varieties of dry beans, sunflowers and
 other rotational crops (sugar beets and some dry beans have rainfall requirement).




 Differences in Weed Control                                                                         Status Herbicide Burns Down
 for Status Herbicide, Callisto                                                                      Large Weeds
 and Laudis
                                     Status
           Weeds                                          Callisto           Laudis
                                    Herbicide
   Common ragweed                          E               F        G             E
          Dandelion                        G                    F                P
      Giant ragweed                        E                    F                G
            Kochia                   G           E              F            G        E
        Morningglory                       E                    F                 F
          Velvetleaf                       G                    E                E                                                                      Status Herbicide
                                                                                                                   Untreated
                                                                                                                                                            (5 oz/A)‡
     Wild buckwheat                        E                    F                 F
                                                                                                     Shelbina, MO. Untreated Photo: 5/20/15, Applied: 5/22/15, Final photo: 6/8/15.
 Key:      E 91–100% control               G 81–90% control                                          Primary weeds: waterhemp, marestail, giant ragweed, and cocklebur. ‡ Full treatment
            F 65–80% control               P Less than 65% control                                   included: Aatrex 4L (1.5 lbs/A) + Glyphosate (32 floz/A) + Zidua® herbicide 2 oz/A +
                                                                                                     COC (1 pt./A) + AMS.
 Source: Winfield 2017 Crop Protection Guide.



                                                                                                     To learn more about crop protection products
                                                                                                     from BASF, visit www.agproducts.basf.us




                         Generic Mesotrione 3 oz/A

Grower application, Spring 2017, Williamson County, Texas. Photo taken March 23, 2017.




                            Always read and follow label directions
                            Grow Smart is a trademark and Status and Zidua are registered trademarks of BASF Corporation.
                            DiFlexx and Laudis are registered trademarks of Bayer CropScience. Callisto is a registered trademark of Syngenta.
                            ©2017 BASF Corporation. All Rights Reserved. APN# 1704011 Status versus Callisto & Laudis-2017



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